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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         ) Case No. 20-12345 (MG)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.                     )
                                                               )

   CERTIFICATION OF NO OBJECTION REGARDING (1) TWENTY-SEVENTH
 MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
  FOR THE PERIOD FROM MARCH 1, 2023 THROUGH MARCH 31, 2023; AND (2)
TWENTY-NINTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS SPECIAL
    INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS FOR PROFESSIONAL SERVICES RENDERED
         AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                MARCH 1, 2023 THROUGH MARCH 31, 2023

         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”) the undersigned counsel for the Official

Committee of Unsecured Creditors (the “Committee”) hereby certifies as follows:

         1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

         2.       On May 2, 2023, the Committee filed the following Monthly Fee Applications:

                      Pachulski Stang Ziehl & Jones LLP (“PSZJ”). Twenty-Seventh Monthly
                       Fee Statement of Pachulski Stang Ziehl & Jones LLP for Professional
                       Services Rendered and Disbursements Incurred as Counsel to the Official
                       Committee of Unsecured Creditors for the Period from March 1, 2023
                       through March 31, 2023 [Docket No. 2068].


1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.


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                      Burns Bair LLP (“BB”). Twenty-Ninth Monthly Fee Statement of Burns
                       Bair LLP, as Special Insurance Counsel to the Official Committee of
                       Unsecured Creditors for Professional Service Rendered March 1, 2023
                       through March 31, 2023 [Docket No. 2070].


        3.        The Monthly Fee Applications were served on May 2, 2023 [Docket Nos. 2069

and 2071].

        4.        The Monthly Fee Applications complied with the requirements set forth in the

Interim Compensation Order.

        5.        Pursuant to the Interim Compensation Order, the Objection Deadline for the

Monthly Fee Applications listed above was May 17, 2023. As of the filing of this certificate,

more than forty-eight (48) hours have elapsed since the Objection Deadline and, to the best of

my knowledge, no responsive pleading to the Monthly Fee Applications listed above has been

filed with the Court on the docket of the above-captioned chapter 11 case or (b) served on the

Committee, PSZJ, or BB.

        6.        Pursuant to the Interim Compensation Order, the Debtor is authorized to pay

eighty percent (80%) of the fees and one hundred percent (100%) of the expenses requested in

the Monthly Fee Applications upon filing of this Certificate of No Objection and without the

need for entry of a Court order approving the Monthly Fee Applications.


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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: May 22, 2023                   PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Gillian N. Brown
                                              James I. Stang, Esq. (admitted pro hac vice)
                                              Karen B. Dine, Esq.
                                              Gillian N Brown, Esq.
                                              Brittany M. Michael, Esq.
                                              780 Third Avenue, 36th Floor
                                              New York, New York 10017
                                              Telephone:       (212) 561-7700
                                              Facsimile:       (212) 561-7777
                                              Email:          jstang@pszjlaw.com
                                                              kdine@pszjlaw.com
                                                              gbrown@psjzlaw.com
                                                              bmichael@pszjlaw.com


                                              Counsel to the Official Committee of Unsecured
                                              Creditors




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